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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

CAND 435
(CAND Rev. 08/2018)

 

TRANSCRIPT ORDER
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1a. CONTACT PERSON FOR THIS ORDER
Sandy Giminez

2a. CONTACT PHONE NUMBER

(415) 676-2221

3. CONTACT EMAIL ADDRESS
sgiminez@keker.com

 

1b. ATTORN EY NAME (if different)
Nicholas D. Marais

2b. ATTORNEY PHONE NUMBER

(415) 391-5400

 

 

3. ATTORNEY EMAIL ADDRESS
nmarais@keker.com

 

4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE) 5. CASE NAME

Keker, Van Nest & Peters LLP
633 Battery Street
San Francisco, CA 94111

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6. CASE NUMBER

5:18-cv-05062

 

 

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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:

ORDER & CERTIFICATION (11. & 12.) By signing below, | certify that | will pay all charges (deposit plus additional). 12. DATE

HE SIGNATERE /g/ Nicholas D. Marais 04/18/2023

 

 

 

 

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